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                                                                           Page 1
                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK
                 MASTER DOCKET 18-MD-2865(LAK)
                     CASE NO. 18-CV-09797

_______________________________________
                                       )
IN RE:                                 )
                                       )
CUSTOMS AND TAX ADMINISTRATION OF      )
THE KINGDOM OF DENMARK                 )
(SKATTEFORVALTNINGEN) TAX REFUND       )
SCHEME LITIGATION                      )
                                       )
_______________________________________)




        ************************************
        *                                  *
        *           CONFIDENTIAL           *
        *                                  *
        ************************************



   REMOTE VTC VIDEOTAPED DEPOSITION UNDER ORAL
                  EXAMINATION OF
           CHRISTIAN EKSTRAND - VOLUME I
                 DATE: May 6, 2021




  REPORTED BY:     CHARLENE FRIEDMAN, CCR, RPR, CRR



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                                                        Page 2                                                           Page 3
 1                                                                  1   A P P E A R A N C E S:
                                                                    2
 2                                                                      HUGHES, HUBBARD & REED
 3                                                                  3   One Battery Park Plaza
                                                                        New York, NY 10004
 4                                                                  4   BY:   NEIL OXFORD, ESQ.
 5                                                                            BILL MAGUIRE, ESQ.
                                                                    5         MARC A. WEINSTEIN, ESQ.
 6                TRANSCRIPT of the videotaped deposition of the              BRITTANY LLEWELLYN, ESQ.
 7   witness, called for Oral Examination in the above-captioned    6         Via VTC
                                                                        Attorneys for SKAT
 8   matter, said deposition being taken by and before CHARLENE     7
 9   FRIEDMAN, a Notary Public and Certified Court Reporter of      8   HANAMIRIAN LAW FIRM
                                                                        40 E. Main Street
10   the State of New Jersey, via WEBEX, ALL PARTIES REMOTE, on     9   Moorestown, NJ 08057
11   May 6, 2021, commencing at approximately 6:02 in the               BY:   JOHN M. HANAMIRIAN, ESQ.
                                                                   10         ELZA GRIGORYAN
12   morning, EST, and 2:42 p.m., Denmark time.                               Via VTC
                                                                   11   Attorneys for Acorn Capital
13                                                                 12
14                                                                      CAPLIN & DRYSDALE
                                                                   13   600 Lexington Avenue
15                                                                      New York, NY 10022
16                                                                 14   BY:   MARK ALLISON, ESQ.
                                                                              Via VTC
17                                                                 15   Attorneys for Klugman
18                                                                 16
                                                                   17   KAPLAN RICE
19                                                                      142 West 57th Street
20                                                                 18   New York, NY 10019
                                                                        BY:   MICHELLE RICE, ESQ.
21                                                                 19         Via VTC
                                                                        Attorneys for Albedo, et al
22                                                                 20
23                                                                 21
                                                                   22
24                                                                 23
25                                                                 24
                                                                   25


                                                        Page 4                                                           Page 5
 1   A P P E A R A N C E S:                                         1   A P P E A R A N C E S:
 2                                                                  2
     KOSTELANETZ & FINK                                                 WILMER HALE
 3   250 Greenwich Street                                           3   7 World Trade Center - 250 Greenwich Street
                                                                        New York, NY 10007
     New York, NY 10007                                             4   BY: ALAN SCHOENFELD, ESQ.
 4   BY:   NICHOLAS H. BAHNSEN, ESQ.                                          CARY GLYNN, ESQ.
           CAROLINE CIRAOLO, ESQ.                                   5         JULIA C. PILCER, ESQ.
 5         SHARON MCCARTHY, ESQ.                                              RACHEL CRAFT, ESQ.
           Via VTC                                                  6         ANDREW DULBERG, ESQ.
 6   Attorneys for Azalea, et al                                              Via VTC
 7                                                                  7   Attorneys for Avanix, et al
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 9   BY:   JOHN GAVIN, ESQ.                                             New York, NY 10017
           BRANDON DILLMAN, ESQ.                                   11   BY: NEIL S. BINDER, ESQ.
10         ANNA E. L'HOMMEDIEU, ESQ.                                          GREGORY C. PRUDEN, ESQ.
           Via VTC                                                 12         Via VTC
11   Attorneys for Alexander Jamie Mitchell, et al                      ATTORNEYS for ED&F Man
12                                                                 13
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     120 Wall Street                                               15   New York, NY 10017
14   New York, NY 10005                                                 BY: SEAN MULLEN, ESQ.
     BY:   KARI PARKS, ESQ.                                        16         Via VTC
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     Attorneys for Goldstein                                       17
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                                                                   20         STEPHEN D. ANDREWS, ESQ.
20                                                                            NOT PRESENT
21                                                                 21   Attorneys for Sander Gerber Pension Plan
22                                                                 22
23                                                                 23
24                                                                 24
25                                                                 25



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                                                        Page 6                                                      Page 7
1    A P P E A R A N C E S:                                      1    ALSO PRESENT:   JOSE RIVERA, Videographer
2                                                                2                    THOMAS SPILLER
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5           MICHAEL ROSENAFT, ESQ.                               4
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6    Attorneys for Klugman                                       5
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9    BY:   SHREY SHARMA, ESQ.                                    7
           THOMAS R. HOOPER, ESQ.                                                     JENS KJAERGAARD
10         MARK J. HYLAND, ESQ.                                  8
           NOT PRESENT
11   Attorneys for Bernard Tew                                                        INGDR GREGERSEN,   Interpreter
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     Southfield, MI 48075                                        11
14   BY:   SHELDON S. TOLL, ESQ.
           NOT PRESENT                                           12
15   Attorneys for Hoffmeister                                   13
16                                                               14
     MORVILLO, ABROMOWITZ, GRAND, IASON & ANELLO                 15
17   565 5th Avenue                                              16
     New York, NY 10017                                          17
18   BY:   RICHARD WEINBERG, ESQ.
           NOT PRESENT                                           18
19   Attorneys for Clove Pension Plan, Mill River                19
     Pension Plan, Traden Investment Pension Plan                20
20                                                               21
21                                                               22
22                                                               23
23
24                                                               24
25                                                               25

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 1                            I N D E X                           1                              - - -
 2   WITNESS NAME                                     PAGE
 3   CHRISTIAN EKSTRAND                                           2                    Deposition Support Index
 4                                                                3                              - - -
 5   Examination By:      Mr. Schoenfeld                12        4
 6
 7                        E X H I B I T S                         5   Direction to Witness Not to Answer
 8   EKSTRAND NO.      DESCRIPTION                    PAGE        6   Page Line      Page Line      Page Line
 9   3000              Deposition notice                21        7   None
10   3016              WH_MDL_00089256                  38
11   3005              SKAT_MDL_001_00278652 -          55        8
                       00278659                                   9   Request for Production of Documents
12                                                               10   Page Line     Page Line       Page Line
     3006              SKAT_MDL_001_00278056 -          62
13                     00278061                                  11   None
14   3007              SKAT_MDL_001_0075835 -           68       12
                       0075957                                   13   Stipulations
15
     3060              Skat's Responses and             93       14   Page Line          Page Line           Page Line
16                     Objections to                             15   None
                       Defendant's Second Set
17                     of Interrogatories                        16
18   3061              SKAT_MDL_001_00450445           103       17   Questions Marked
19   3026              Novo Nordisk's 2015             112       18   Page Line      Page Line               Page Line
                       Annual Report
20                                                               19   None
     3012              SKAT_MDL_001_00420463 -         133       20
21                     00420473                                  21
22   3014              Printout of Skat's              138
                       website                                   22
23                                                               23
     3077              MPSKAT00169675 -                165       24
24                     00169686
25                                                               25


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 1             THE INTERPRETER: I think it's time     1   always several pairs of eyes working on
 2   for a break.                                     2   handling such a task. Sven has input from
 3             MR. WEINSTEIN: Alan, Madam             3   the day man.
 4   Interpreter just asked for a break.              4             At the end of the day, a report is
 5             MR. SCHOENFELD: Sure. How long do      5   printed out and that is reviewed by Sven and
 6   you need?                                        6   another employee to verify if it's in
 7             MR. WEINSTEIN: Five minutes.           7   accordance -- whether it's the same, what is
 8             MR. SCHOENFELD: Yep.                   8   input and what is in the report. The next
 9             VIDEO OPERATOR: Please stand by.       9   thing, then, what he has checked and verified
10   The time is 7:04 a.m. New York time, and we     10   really for disbursement, again, goes on for a
11   are going off the record.                       11   check of two persons to check whether it's
12             (Brief recess taken.)                 12   correct.
13             VIDEO OPERATOR: The time is           13             And then the amount is released for
14   7:16 a.m. New York time, and we are back on     14   disbursement.
15   record.                                         15        Q    Who was the second person who
16         Q   Mr. Ekstrand, before we went on a     16   checked and verified amounts for disbursement
17   break, we were talking about Mr. Nielsen.       17   with Sven Neilsen?
18   And I asked you whether anyone had              18        A    That was one of the other employees
19   responsibility for auditing his work.           19   at the office.
20             And you said, "When you're talking    20        Q    Do you know who it was during the
21   about payments of disbursements, there's a      21   period January 2012 to August 2015?
22   functional separation as always."               22        A    As I said, one of the employees of
23             Can you explain what you meant by     23   the department. It could be any one of the
24   that?                                           24   other people in the department.
25         A   Yes. The process is that there's      25        Q    So it wasn't one particular person?

                                          Page 36                                              Page 37
 1   It was just someone else in the department       1   whether it was a Danish or a foreign account
 2   would be the second set of eyes?                 2   number. He put them into piles and checked
 3        A    Yes.                                   3   that the correct documentation was available
 4        Q    You described that there was a         4   with it.
 5   second set of eyes with respect to approving     5             THE INTERPRETER: And the witness
 6   disbursements.                                   6   says that he could explain that further.
 7             With respect to the actual approval    7        Q    Please do.
 8   of the reclaims themselves, was there a          8        A    Several documents. One is a form
 9   second set of eyes after Sven's?                 9   which for the U.S. which is 06003, and it
10             MR. WEINSTEIN: Objection to form.     10   documents that is the -- who's the beneficial
11        A    So you can say that, in the           11   owner and what the reclaim request concerns,
12   process, opening the reclaim requests, there    12   and the account number.
13   is a second set of eyes. But there's not on     13             And then there's document 6161,
14   the input, the actual input that he makes,      14   which is a -- it's a document stating the
15   except for the reconciliation at the end.       15   country of residence for tax purposes. And
16        Q    What was the second set of eyes on    16   there's further documentation -- yes, there's
17   the -- opening the reclaim request?             17   also -- I'll start from the beginning.
18        A    I understood that the person,         18             So there's a dividend credit
19   Mr. Laurits Cramer, opened the mail and         19   advice. It's issued by a bank or custodian.
20   checked the contents. And then Sven was         20   So this is a third party. And this refers to
21   doing the processing later.                     21   the U.K., but it's also applied generally.
22        Q    Do you know professionally what       22             In our case, it's from the U.K.,
23   Mr. Cramer did, like what steps he took with    23   but it could be from a custodian in any
24   respect to received reclaim applications?       24   country.
25        A    He opened the mail and checked        25             MR. WEINSTEIN: So Alan, just


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 1   before the next question, two things. I          1   form? Is this the form -- sorry.
 2   think earlier in his answer, there was a         2             Are you familiar with this form?
 3   reference to a Form 6 -- the interpreter said    3        A    Yes.
 4   Form 6161. I think Mr. Ekstrand may have         4        Q    And is this the form you referenced
 5   said Form 6166, but we can ask him.              5   as the English language form for dividend
 6             And then, if I can, I just want        6   reclaim submissions?
 7   to -- and if you can interpret this, I want      7        A    Yes.
 8   to ask Mr. Ekstrand if he can, if his answer     8        Q    And so English-speaking applicants
 9   is long, to try to shorten it into pieces and    9   for dividend withholding tax refunds were
10   it will make it easier to get the translation   10   required to submit this form to SKAT,
11   correct. If they go long, it's harder for       11   correct?
12   her to recall exactly what you said.            12        A    Yes.
13        A    Yes, I misunderstood that. It is      13        Q    Was this the form that was in
14   Form 6166 we're talking about.                  14   effect during the entire time period, 2012
15        Q    Let's turn to the form you            15   through 2015?
16   mentioned, which is at Exhibit 3016.            16        A    I'm not quite certain whether it
17             (Above-mentioned document marked      17   was this. But there was a two-page version,
18   for Identification.)                            18   which might have been used in 2012, but it's
19             THE INTERPRETER: Did you say 3016     19   the same information that has to be stated.
20   or 3060?                                        20        Q    So were any changes made to the
21             MR. SCHOENFELD: 3-0-1-6.              21   requirements for submitting a dividend
22        Q    Do you have that exhibit in front     22   withholding tax refund application during the
23   of you, Mr. Ekstrand?                           23   period 2012 through 2015?
24        A    Yes.                                  24        A    No.
25        Q    Okay. Are you familiar with this      25        Q    Okay. And before -- before

                                          Page 40                                              Page 41
 1   approving refunds, SKAT reviewed the             1   a -- got a prison penalty.
 2   information provided on this form, correct?      2         Q   For crimes relating to the
 3        A    Yes.                                   3   processing of dividend withholding tax,
 4        Q    Was Mr. Nielsen able to read and       4   correct?
 5   understand English?                              5             MR. WEINSTEIN: Objection. And you
 6             MR. WEINSTEIN: Objection to form.      6   prefaced many questions saying you're talking
 7        A    It's difficult for me to answer        7   about a period of 2012 to 2015. So just to
 8   what Sven Neilsen was able to do in terms of     8   be clear, are you asking about that period of
 9   English, but as he was processing these          9   time in that question?
10   claims, we must assume that he was able to      10         Q   Mr. Ekstrand, do you know why
11   understand them.                                11   Mr. Nielsen is in prison?
12        Q    Why do you we have to assume that?    12         A   I know that he has a judgment and
13        A    Because he wouldn't be able to        13   that he's in prison, but I don't know
14   process these claims if he doesn't know what    14   exactly, precisely, the grounds for the
15   they say.                                       15   judgment.
16        Q    Well, you thought Mr. Nielsen was     16             But I know that he did have a
17   incompetent, correct?                           17   concern that he received some money and that
18             THE INTERPRETER: Did you say --       18   he contributed to fraud.
19             MR. SCHOENFELD: Incompetent.          19         Q   And was that fraud in connection
20             MR. WEINSTEIN: Objection to form.     20   with dividend withholding tax refunds?
21        A    Incompetent? I don't remember         21         A   Yes.
22   saying that.                                    22         Q   Was the process for reviewing
23        Q    Mr. Nielsen's in jail right now,      23   dividend withholding tax refund applications
24   correct?                                        24   written down anywhere for the period 2012 to
25        A    Yes, it's correct that he's got       25   2015?


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 1   basis without withholding, correct?              1             And the relevant dividend
 2             MR. WEINSTEIN: Objection to form.      2   recipients are the ones that are known to VP.
 3             THE INTERPRETER: Can I just ask        3        Q    A U.S. pension plan can't say to
 4   you to repeat the question, please? That the     4   the company, the Danish company issuing the
 5   U.S. pension plan --                             5   dividend, "I don't want to deal with the
 6        Q    A U.S. pension plan owning shares      6   refund process, just pay me a gross
 7   in a Danish company couldn't require that        7   dividend," correct?
 8   company to pay its dividend on a gross basis     8             MR. WEINSTEIN: Objection to form.
 9   without withholding, correct?                    9        A    No.
10             MR. WEINSTEIN: Objection.             10        Q    No, it can't, correct?
11        A    No. And maybe we just need to         11        A    No, it cannot.
12   understand the process because it is not the    12        Q    Okay. So in this case, SKAT
13   company handling the payment. So -- and we      13   received the defendant's refund applications,
14   need to understand the process.                 14   right?
15             This is not handled by                15        A    Yes.
16   VP Securities. The company itself are the       16        Q    And SKAT reviewed those
17   ones who would hold the amount that they will   17   applications, right?
18   pay as dividends.                               18        A    Yes.
19             Subsequently, VP Securities will      19        Q    And SKAT made the decision to pay
20   make a calculation to see how much is to be     20   out withheld dividend tax to the pension plan
21   paid in dividend and how much is to be          21   in each of these cases, correct?
22   withhold for taxes. And then, subsequently,     22        A    Yes. SKAT went through the
23   the funds will be paid out to the relevant      23   documentation that we have received.
24   parties as well and the taxes will be           24             And upon this review, we have
25   withheld.                                       25   decided to refund the amounts.

                                          Page 76                                              Page 77
 1        Q    And SKAT determined that each          1             MR. WEINSTEIN: Objection to form.
 2   claimant was subject to a double taxation        2   Misstates his testimony.
 3   treaty, correct?                                 3        A    So as I mentioned earlier, we have
 4        A    Yes. Because the claimant has          4   a -- legal guidelines, including the
 5   included documentation as to where they are      5   definition. And I also said earlier that if
 6   taxable, that they are domiciled in the U.S.     6   you want an elaboration of the concept
 7   and are obligated to pay taxes in the U.S.       7   "beneficial owner," I'm not the right person
 8        Q    I think you testified earlier that     8   to ask.
 9   there's an operative definition of               9        Q    But in approving the refund claims,
10   "beneficial owner" within SKAT.                 10   SKAT determined that the claimant was a
11             Is that right?                        11   beneficial owner under SKAT's guidelines for
12        A    What I said was that you had to be    12   determination of who's the beneficial owner,
13   the rightful owner of the shares in order to    13   correct?
14   claim a refund. But one of the conditions       14        A    The control is performed by SKAT of
15   also is that you, in actuality, are domiciled   15   the documentation that the person in question
16   at a location where we have a double taxation   16   is the beneficial owner. And why would we
17   agreement so that there is taxes to refund.     17   then think otherwise, since we receive a
18        Q    Right. I'm focused on this            18   declaration to that effect as well as
19   question of the rightful owner.                 19   documentation of the domicile of the entity
20             I believe you testified earlier       20   in question?
21   that there's a definition that SKAT applies     21             And we also received dividend
22   to determine whether someone is the rightful    22   credit advice saying that the entity in
23   beneficial owner of the dividends for           23   question has received a dividend, and that
24   purposes of processing these refund             24   there is -- and that taxes have been
25   applications, correct?                          25   withheld.


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 1   for Identification.)                             1   is July 7th?
 2        Q    So Mr. Ekstrand, tell me when          2             MR. SCHOENFELD: Correct.
 3   you're there.                                    3        A    Correct.
 4        A    Yes, I'm there.                        4        Q    Did you play any role in drafting
 5        Q    Okay. Have you seen this document      5   or approving this reply document?
 6   before?                                          6        A    Not at all.
 7        A    Yes.                                   7        Q    What is an "early warning?"
 8        Q    What is it?                            8        A    So an early morning is something
 9        A    This is an early warning on stock      9   that you prepare if it comes to your
10   lending.                                        10   knowledge that there is the possibility of an
11        Q    Mr. Ekstrand, my understanding was    11   unforeseen effect of legislation that has
12   that this is a response to an early warning,    12   come into force.
13   not the early warning itself.                   13        Q    And can you describe, based on your
14             Do I have that right?                 14   familiarity with this document, what the two
15        A    Correct.                              15   early warnings at issue here were disclosing?
16        Q    And the reply comes from the          16        A    So as far as I remembered, there
17   Ministry of Taxation, correct?                  17   were some problematic registrations within
18        A    Yes.                                  18   VP, which means that VP did not necessarily
19        Q    And the two early warnings it         19   report the beneficial owner of the share.
20   addresses come from within SKAT, right?         20             And, for example, that means that
21   There's a March 27, 2015 warning from the       21   if I own shares and then I lend them to you,
22   large companies division and a July 7, 2015     22   then they will be registered with your
23   warning from the Jura, SKAT's legal             23   custodian bank. They will then be
24   authority, correct?                             24   registered -- I will lend them to you.
25             THE INTERPRETER: The second date      25             They will then be registered with

                                         Page 136                                              Page 137
 1   your custodian bank and therefore, they will     1        Q    So on Page 10 of the reply, do you
 2   be registered as owned by you.                   2   see the paragraph beginning "Som svar?"
 3        Q    So the upshot of the early warnings    3        A    Yes.
 4   was that as a result of securities lending in    4        Q    And you see the last sentence of
 5   the market, SKAT wasn't receiving accurate       5   the paragraph beginning "Det er?"
 6   information about who owned securities.          6        A    Yes.
 7             Is that right?                         7        Q    And am I correct that what the
 8             MR. WEINSTEIN: Objection to form.      8   Ministry is saying there is that it's the
 9        A    Yes. You can say that because VP       9   view of the Ministry of Taxation that in
10   did not have the possibility to check a box     10   situations where the borrower has resold the
11   saying that this was stock lending.             11   securities in question to a third party, that
12        Q    And so the large companies division   12   the third party becomes the beneficial owner
13   shares this concern on March 27, 2015,          13   of the dividends?
14   correct?                                        14        A    Correct. Exactly as I said
15        A    Yes.                                  15   earlier.
16        Q    And the response from the Ministry    16        Q    And so that's an accurate statement
17   of Taxation comes six months later, correct?    17   of SKAT's policy towards beneficial ownership
18        A    Yes.                                  18   in these circumstances?
19        Q    Is anything done in those six         19        A    This is how the rules are.
20   months to address the issue that the large      20        Q    SKAT's website says the same thing
21   companies division raised?                      21   to taxpayers, correct?
22        A    Not to my knowledge, no. But          22        A    I don't -- I have not seen that for
23   the -- the answer to this early warning is      23   myself.
24   quite clear, which is that you have to be the   24        Q    Did you review the website in
25   beneficial owner in order to claim a refund.    25   preparation for today's deposition as a


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 1              MR. WEINSTEIN: Objection to form.      1   the general meeting.
 2        A     Well, that seems quite a               2        Q    And between 2012 and 2015, SKAT
 3   theoretical question, because that situation      3   didn't say that in order to own shares, the
 4   should not occur as the shares, at that           4   settlement date had to occur on or before the
 5   point, would be -- should be with the buyer's     5   date on which the dividend distribution is
 6   custodian.                                        6   decided at the general meeting, correct?
 7        Q     Okay. We've been talking about the     7             MR. WEINSTEIN: Objection to form.
 8   fact that the bearer of shares is entitled to     8        A    So you need to buy the share, at
 9   a dividend if they buy the share before the       9   the latest, on the day of the general
10   dividend is declared.                            10   meeting.
11              A purchaser is entitled to the        11        Q    Does settlement need to occur as of
12   reclaim even if they purchase the share a        12   the general meeting?
13   nanosecond before the end of the day on which    13        A    No. Because in Denmark, shares are
14   the dividend is declared, correct?               14   traded with T plus 2, and I think this is the
15              THE INTERPRETER: So can I ask you     15   norm for whatever shares are traded, which
16   to repeat the question?                          16   means that this is the trading date plus 2,
17              MR. SCHOENFELD: Sure.                 17   which is when the settlement takes place.
18        Q     Let me ask the question this way.     18             This is why the record date is two
19              There's no minimum amount of time a   19   days after the general meeting, because then
20   stockholder has to own shares in order to be     20   you are sure that the trading has been
21   entitled to a dividend, correct?                 21   settled within the system.
22              MR. WEINSTEIN: Objection.             22        Q    Okay.
23        A     No, there's no minimum time. As       23             MR. SCHOENFELD: We've been going
24   long as there's a proper business like this      24   about an hour.
25   of the purchase, you can buy right up until      25             Shall we take a short break?

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 1             MR. WEINSTEIN: Sure.                    1             MR. WEINSTEIN: Objection to form.
 2             VIDEO OPERATOR: Stand by. The           2        A    With the civil law owner, to my
 3   time is 1:09 p.m. New York time. We're going      3   understanding.
 4   off the record.                                   4        Q    Okay. And if I purchase shares, I
 5             (Brief recess taken.)                   5   become the owner of record, the civil owner,
 6             VIDEO OPERATOR: The time is             6   on settlement date, correct?
 7   1:23 p.m. New York time, and we're back on        7             MR. WEINSTEIN: Objection. And to
 8   record.                                           8   the extent these questions are requesting him
 9         Q   Mr. Ekstrand, a company that            9   for, you know, a legal analysis, we object
10   declares a dividend pays that dividend on the    10   and he's not answering in a 30(b)(6)
11   dividend date based on VP records reflecting     11   capacity.
12   who the owner of record is as of the record      12        Q    You can go ahead and answer.
13   date.                                            13        A    So as I said, I'm not necessarily
14             Is that correct?                       14   legally -- legal -- I do not necessarily have
15         A   So it is correct that -- that the      15   any legal knowledge, but I would need to know
16   dividends are declared based on VP               16   the date on which he purchased the share.
17   registration of where the shares are located     17        Q    Why do you need to know the date on
18   with the custodian, where the shares are with    18   which he purchased the share?
19   what custodian.                                  19             MR. WEINSTEIN: Objection to form.
20         Q   As of the record date, correct?        20        A    Well, you were asking me about the
21         A   So the custodian receiving the         21   record date, so maybe I misunderstood the
22   dividend is the custodian where the shares       22   question.
23   are located on the record date, which is not     23             Maybe you could rephrase?
24   necessarily with the beneficial owner.           24        Q    Sure.
25         Q   It's with the legal owner, correct?    25             It's on the settlement date that a


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 1   capital gains tax question --                    1   VP Securities.
 2        A    So I don't think that there is a       2        Q    Could these two transactions be
 3   simple answer to this question. It depends       3   netted against each other?
 4   on what kind of investor he is.                  4             MR. WEINSTEIN: Objection to form.
 5             Are we talking about a private         5   For what purpose now?
 6   individual? Is this somebody operating a         6             I don't even understand what the
 7   business?                                        7   question is getting at.
 8             But anyway, if there is a capital      8        Q    Mr. Ekstrand, do you understand
 9   gain, this is subject to taxation. In the        9   what the question is getting at?
10   most general terms, if there is a capital       10             VIDEO OPERATOR: I'm sorry. I'm
11   gain, there will be some sort of taxation       11   really --
12   depending on whether this is capital income,    12             THE INTERPRETER: I don't
13   whether this is categorized as private income   13   understand the question. I can't translate
14   or company income.                              14   the question because I don't understand it.
15        Q    Would the investment question be      15   Can I ask you to rephrase?
16   required to report these two transactions to    16             MR. SCHOENFELD: Sure.
17   be securities?                                  17        Q    There's a purchase at 100 kroner
18             MR. WEINSTEIN: Objection. And         18   per share at 10:00 in the morning, and a sale
19   again, well beyond the scope of any capacity    19   at 130 per share in the afternoon.
20   he's here to testify to.                        20             For purposes of reporting these
21        A    So, in general, VP would have         21   shares, can they be netted -- these
22   access to this information through custodian    22   transactions, can they be netted against each
23   registrations. But as regard the procedures,    23   other?
24   VP Securities -- that is probably a question    24             MR. WEINSTEIN: Objection to form.
25   more suited for somebody working for            25   Beyond the scope of any capacity that this

                                         Page 156                                              Page 157
 1   witness is here to testify in.                   1        Q     Well, they would cash out to 30,000
 2             THE INTERPRETER: And I heard your      2   kroner, right?
 3   question. My problem as the translator is I      3             MR. WEINSTEIN: Objection to form.
 4   don't know how to translate the word             4   Same objections as before.
 5   "netted."                                        5        A     Well, that is what I'm saying. If
 6             MR. WEINSTEIN: Alan, just let the      6   you buy at 100 and you sell at 130, then that
 7   record reflect that Danish counsel has           7   is 30 per however many shares you have
 8   conferred. I think they agree on what the        8   purchased.
 9   word should be in Danish, so we're going to      9        Q     Could an account holding
10   have the interpreter use that word.             10   institution net trades in the same stock by
11        A    The two -- the two purchases at 100   11   merging trades within their institution into
12   and 130 cannot be netted against one another.   12   fewer trades for reporting to a central
13   So I need -- if that's not the answer, I need   13   clearing counterparty?
14   for you to elaborate on your question.          14             MR. WEINSTEIN: I'm going to guess
15        Q    Can you explain why the two can't     15   that's going to be a tough one to translate
16   be netted against each other?                   16   as quick as you just did that. But before we
17             MR. WEINSTEIN: Same objection as      17   get there, objection. He's not here as a
18   to form.                                        18   securities law expert, a securities industry
19        A    I don't see how the two can be        19   expert, or any other capacity other than the
20   netted against each other. Because if the       20   30(b)(6) topics in the notice that the judge
21   purchase is made at 100 and the sale is made    21   allowed, and his factual capacity of what he
22   at 130, these two elements mean that there is   22   did when he was at SKAT.
23   a profit or a loss to be made.                  23             This is far beyond the field.
24             So the two -- I can't see how the     24        Q     You can go ahead and answer.
25   two can be netted against each other.           25             THE INTERPRETER: I'm going to need


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 1                  C E R T I F I C A T E                    1                     LAWYER'S NOTES
 2             I, CHARLENE FRIEDMAN, a Certified Court       2   PAGE    LINE
 3   Reporter and Notary Public, qualified in and for        3   ____    ____    ___________________________________
 4   the State of New Jersey do hereby certify that          4   ____    ____    ___________________________________
 5   prior to the commencement of the examination            5   ____    ____    ___________________________________
 6   CHRISTIAN EKSTRAND was duly sworn by me to testify      6   ____    ____    ___________________________________
 7   to the truth the whole truth and nothing but the        7   ____    ____    ___________________________________
 8   truth.                                                  8   ____    ____    ___________________________________
 9             I DO FURTHER CERTIFY that the foregoing       9   ____    ____    ___________________________________
10   is a true and accurate transcript of the testimony     10   ____    ____    ___________________________________
11   as taken stenographically by and before me at the      11   ____    ____    ___________________________________
12   time, place and on the date hereinbefore set forth.    12   ____    ____    ___________________________________
13             I DO FURTHER certify that I am neither a     13   ____    ____    ___________________________________
14   relative of nor employee nor attorney nor counsel      14   ____    ____    ___________________________________
15   for any of the parties to this action, and that I      15   ____    ____    ___________________________________
16   am neither a relative nor employee of such attorney    16   ____    ____    ___________________________________
17   or counsel, and that I am not financially              17   ____    ____    ___________________________________
18   interested in the action.                              18   ____    ____    ___________________________________
19                                                          19   ____    ____    ___________________________________
20                                                          20   ____    ____    ___________________________________
21                ____________________________              21   ____    ____    ___________________________________
22                CHARLENE FRIEDMAN, RPR, CRR, CCR of the   22   ____    ____    ___________________________________
23                State of New Jersey                       23   ____    ____    ___________________________________
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 1                  DEPOSITION ERRATA SHEET                  1                 DEPOSITION ERRATA SHEET
 2                                                           2   Page No._____Line No._____Change to:__________
 3                                                           3   ______________________________________________
 4                                                           4   Reason for change:____________________________
 5                                                           5   Page No._____Line No._____Change to:__________
 6                                                           6   ______________________________________________
 7          DECLARATION UNDER PENALTY OF PERJURY             7   Reason for change:____________________________
 8             I declare under penalty of perjury            8   Page No._____Line No._____Change to:__________
 9       that I have read the entire transcript of           9   ______________________________________________
10       my Deposition taken in the captioned matter        10   Reason for change:____________________________
11       or the same has been read to me, and               11   Page No._____Line No._____Change to:__________
12       the same is true and accurate, save and            12   ______________________________________________
13       except for changes and/or corrections, if          13   Reason for change:____________________________
14       any, as indicated by me on the DEPOSITION          14   Page No._____Line No._____Change to:__________
15       ERRATA SHEET hereof, with the understanding        15   ______________________________________________
16       that I offer these changes as if still under       16   Reason for change:____________________________
17       oath.                                              17   Page No._____Line No._____Change to:__________
18                                                          18   ______________________________________________
19                                                          19   Reason for change:____________________________
20                                                          20   Page No._____Line No._____Change to:__________
21              Signed on the _______ day of                21   ______________________________________________
22                ________________, 20____                  22   Reason for change:____________________________
23                                                          23
24            ___________________________________           24   SIGNATURE:__________________DATE:_____________
25                   CHRISTIAN EKSTRAND                     25             CHRISTIAN EKSTRAND


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